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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

NORTH AMERICA’S BUILDING TRADES                 :
UNIONS, et al.,                                 :
                                                :
       Plaintiffs,                              :      Civil Action No.:     25-1070 (RC)
                                                :
       v.                                       :      Re Document No.:      5
                                                :
DEPARTMENT OF DEFENSE, et al.,                  :
                                                :
       Defendants.                              :

                                           ORDER

               GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Plaintiffs’ motion for preliminary injunction (ECF No. 5) is

GRANTED.

       SO ORDERED.


Dated: May 16, 2025                                             RUDOLPH CONTRERAS
                                                                United States District Judge
